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                      ; UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA
    UNITED STATES OF AMERICA       :
                                   :
         v.                        : 21-CR-35 (EGS)
                                   :
    RONALD COLTON MCABEE,          :
         Defendant.                :



    JOINT RESPONSE TO MINUTE ORDER REGARDING VIDEO EXHIBIT RELEASE

        The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, hereby responds to the Court’s September 17, 2021 Minute Order,

directing the parties to respond to petitioners’ request to access video exhibits submitted to the

Court in the above-captioned case. Petitioners represent 16 news organizations, which have moved

this Court to disclose video evidence used in the pretrial detention hearing for the defendant in this

case, pursuant to the procedure outlined by this Court in Standing Order 21-28 (BAH) in In re

Press Coalition’s Motion for Access to Video Exhibits and to Set Aside Standing Order No. 21-28.

The government conferred with the defense counsel in this matter, and the parties agree that the

videos submitted to this Court can be released in accordance with the procedure outlined by this

Court. See Standing Order 21-28 (BAH), at 5-6.

        The D.C. Circuit has consistently employed the six-factor “Hubbard test” 1 when




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  The Hubbard test balances the following factors: “(1) the need for public access to the documents
at issue; (2) the extent of previous public access to the documents; (3) the fact that someone has
objected to disclosure, and the identity of that person; (4) the strength of any property and privacy
interests asserted; (5) the possibility of prejudice to those opposing disclosure; and (6) the purposes
for which the documents were introduced during the judicial proceedings.” Leopold v. v. United
States, 964 F.3d 1121, 1131 (D.C. Cir. 2020) (quoting MetLife, Inc. v. Fin. Stability Oversight
Council, 865 F.3d 661, 665 (D.C. Cir. 2017)).

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determining whether the common-law right of access to judicial records requires those records to

be made available to the public for copying and inspection. Applied in the general context of video

exhibits admitted into evidence in court hearings involving defendants charged with criminal

offenses related to the January 6, 2021 breach of the U.S. Capitol, and absent order of the court,

that test generally weighs in favor of allowing public access to these exhibits.

       The petitioners’ filing seeks video exhibits from the detention hearing held in this matter

in the Middle District of Tennessee on August 26, 2021 and September 8, 2021. See Petitioners’

Memorandum of Points and Authorities in Support of Motion (ECF No. 115), at 2. The

government submitted four videos to the Middle District of Tennessee at the hearing. The defense

did not submit any videos into evidence. Neither party sought a sealing order for the videos upon

their submission.

       Therefore, because the videos were used in the Middle District of Tennessee decision on

detention, and they were not subject to a sealing order, the parties do not object to their disclosure,

including their release for recording, copying, downloading, retransmitting or further broadcasting.

                                               Respectfully submitted,


                                               Channing D. Phillips
                                               Acting United States Attorney


                                                /s/ Colleen D. Kukowski      ____________
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                                  CERTIFICATE OF SERVICE

       I certify that a copy of the Response to Minute Order Regarding Video Exhibit Release

was served on all counsel of record via the Court’s electronic filing service.




‘

                                               /s/ Colleen D. Kukowski
                                              COLLEEN D. KUKOWSKI
                                              Assistant United States Attorney


Date: September 20, 2021




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